           8:04-cr-00164-RGK-CRZ                      Doc # 357         Filed: 03/18/10             Page 1 of 1 - Page ID # 1298

.... AO 472 (Rev. 3/86) Order ofDetention Pending Trial

                                       UNITED STATES DISTRICT COURT                                                                           FIL.ED
                                                                                                                                    U.~.DISJRICT GOUF:T
                                                                   District of                                   Nebraska          DiS fRrCl OF N£nRA$h;.~
           UNITED STATES OF AMERICA                                                                                              2010 MAR I a PH 2: 35
                              v.                                               ORDER OF DETENTION PENDING TRIAL
                  PEDRO MORALES                                              Case Number: 8:04crl64  OffJCE OF lHE CLERK
                          De/eruklnt
     In accordance with the Bail Reform Act, 18 U.S.C. § 3 I42(f), a detention hearing has been held. I conclude that the follqWing facts require the
 detention ofthe defendant pending trial in this case.
                                                             Part I-Findings of Faet
 o (I) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted ofa 0 federal offense 0 state
       or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
       o a crime ofviolence as defined in 18 U.S.C. § 3 I 56(a)(4).
       o an offense for which the maximum sentence is life imprisonment or death.
       o an offense for which a maximum term of imprisonment often years or more is prescribed in
       o ------------------~--~~~~--~----~_c~--------~~~~~--~~~~~~~--
            a felony that was committed after the defendant had been convicted oftwo or more prior federal offenses described in 18 U.S.C.
                                                                                                                                                      .•
               § 3142(f)(I)(A)-(C), or comparable state or local offenses.
 o (2) The offense described in finding (I) was committed while the defendant was on release pending trial for a federal, state or local offense.
 o (3) A period of not more than five years has elapsed since the 0 date of conviction Drelease of the defendant from imprisonment
       for the offense described in finding (I).
 o (4) Findings Nos. (I), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
           safety of(an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                              Alternative Findings (A)
 ~  (l) There is probable cause to believe that the defendant has committed an offense
        )( for which a maximum term of imprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et seq.
        o under 18 U.S.C. § 924(c).
)( (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
        the appearance of the defendant as required and the safety ofthe community.
                                                              Alternative Findings (B)
),( (I) There is a serious risk that the defendant will not appear.
'fJ.....
    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                             Part II-Written Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by     o clear and convincing evidence 0 a prepon­
 derance of the evidence that




                                                    Part m-DireetioDs Regarding Detention
     The defendant is committed to the custody ofthe Attorney General or his designated representative for confmement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge ofthe corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.


                March 18,2010                                                            sf Cheryl R. Zwart
                    Date                                                              Signature ofJudicial Offreer
                                                                                 Cheryl R. Zwart, U.S. Magistrate Judge
                                                                                   Name and Title 0/ Judicial Officer
·Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 95)
et seq.); or (c) Section I of Act of Sept. IS, 1980 (21 U.S.C. § 955a).
